                 Case 3:22-cv-00319-SDD-EWD                           Document 1-3               05/17/22 Page 1 of 17

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 Filed Apr 13.20221:48 PM            23
   Deputy Clerk of Court




                                                     LOUISIANA CIVIL CASE REPORTING
                                                   Civil Case Cover Sheet - LA.R.S. 13:4688 and
                                   Part G,Section 13,Louisiana Supreme Court General Administrative Rules

               The civil case cover sheet shall be completed by counsel for the petitioner, counsel's authorized representative, or by
               the self-represented litigant,(ifnotrepresentby counsel)and submitted with the original petition filed with the court.The
               information should be the best available at the time offiling. This information does not constitute a discovery request,
               response or supplementation, and is not admissible at trial.
                                             Suit Caption;           Roy Henderson

                                                                            vs.



                            '
                                                                     Jerry Horton, et al

               Court:      19th Judicial District Court                             Docket Number:


               Parish ofFiling:       East Baton Rouge                              Filing Date:


               Name ofLead Petitioner's Attorney:            K. Luke Williamson


               Name ofSelf-Represented Litigant:               N/A


               Number ofnamed petitioners:                1                         Number of named defendants;           3

               Type of Lawsuit: Please check the categories which most appropriately apply to this suit(no more than 3 categories
               should be checked):

               X Auto: Personal Injury                                    □ Auto: Property Damage
                □ Auto: Wrongful Death                                    □ Auto: Uninsured Motorist

                □ Asbestos: Property Damage                               □ Asbestos: Personal Injury/Death
                □ Product Liability                                       □ Premise Liability
                □ Intentional Bodily Injury                               □ Intentional Property Damage
                □ Intentional Wrongful Death                              □ Unfair Business Practice

                □ Business Tort                                           □ Fraud

                □ Defamation                                              □ Professional Negligence
                □ Environmental Tort                                      □ Medical Malpractice
                □ Intellectual Property                                   □ Toxic Tort

                □ Legal Malpractice                                       □ Other Tort (describe below)
                □ Other Professional Malpractice                          □ Redhibition

                □ Maritime                                                □ Class Action (nature of case)
                □ Wrongful Death
                □ General Negligence



                Please briefly describe the nature of the litigation in one sentence of additional detail:




                Following the completion of this form by counsel, counsel's representative, or by the self-represented litigant, this
                document will be submitted to the Office of the Judicial Administrator, Supreme Court of Louisiana, by the Clerk of
                Court


                Name, address and contact information of person completing form:

                Name:       K. Luke Williamson                                      Signature:

                Address:       955 McClune Street. BatonRouee. Louisiana 70802

                Phone Number         f225^ 383-4010                                 E-mail address:    luke@lawverbatonrouge.com
Case 3:22-cv-00319-SDD-EWD   Document 1-3   05/17/22 Page 2 of 17
Case 3:22-cv-00319-SDD-EWD   Document 1-3   05/17/22 Page 3 of 17
Case 3:22-cv-00319-SDD-EWD   Document 1-3   05/17/22 Page 4 of 17
Case 3:22-cv-00319-SDD-EWD   Document 1-3   05/17/22 Page 5 of 17
Case 3:22-cv-00319-SDD-EWD   Document 1-3   05/17/22 Page 6 of 17
Case 3:22-cv-00319-SDD-EWD   Document 1-3   05/17/22 Page 7 of 17
Case 3:22-cv-00319-SDD-EWD   Document 1-3   05/17/22 Page 8 of 17
Case 3:22-cv-00319-SDD-EWD   Document 1-3   05/17/22 Page 9 of 17
Case 3:22-cv-00319-SDD-EWD   Document 1-3   05/17/22 Page 10 of 17
Case 3:22-cv-00319-SDD-EWD   Document 1-3   05/17/22 Page 11 of 17
Case 3:22-cv-00319-SDD-EWD   Document 1-3   05/17/22 Page 12 of 17
Case 3:22-cv-00319-SDD-EWD   Document 1-3   05/17/22 Page 13 of 17
Case 3:22-cv-00319-SDD-EWD   Document 1-3   05/17/22 Page 14 of 17
Case 3:22-cv-00319-SDD-EWD   Document 1-3   05/17/22 Page 15 of 17
Case 3:22-cv-00319-SDD-EWD   Document 1-3   05/17/22 Page 16 of 17
Case 3:22-cv-00319-SDD-EWD   Document 1-3   05/17/22 Page 17 of 17
